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Legal ait oui aon

_____ RE: reauest for coPy of Summons sewvecl to the

1 ______ Defendent’s C21- CV-4b33)

 

 

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Sincere\u

 

 

 

 

 

 
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Smart Communications/PADOC

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